 8:07-cr-00071-LSC-SMB        Doc # 80     Filed: 05/11/07     Page 1 of 1 - Page ID # 124




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                  8:07CR71
       vs.                                     )
                                               )               TRIAL ORDER
CANDIDO ALVA-DIAZ,                             )
MARTIN CAMPOS-CALDERON,                        )
SAMUEL HERNANDEZ-MONTILL,                      )
NOE HERNANDEZ-ROMERO and                       )
SANTOS PENA,                                   )
                                               )
                     Defendants.


      Upon the expiration of the deadline for filing substantive pretrial motions, and no
motions having been filed,

       IT IS ORDERED:

       1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie
Smith Camp, District Court Judge, to begin Tuesday, June 19, 2007 at 9:00 a.m. in
Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th
Plaza, Omaha, Nebraska; because this is a criminal case, defendant(s) must be present
in person. Counsel will receive more specific information regarding the order of trial from
Judge Smith Camp’s staff.

       2. Any motions for a continuance of this trial date shall be electronically filed on or
before June 5, 2007 and shall (a) set forth the reasons why the moving party believes that
the additional time should be allowed and (b) justify the additional time, citing specific
references to the appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et
seq. Any defense motion for continuance shall be accompanied by a written affidavit
signed by the defendant in accordance with NECrimR 12.1.

      3. Counsel for the United States shall confer with defense counsel and, no later
than June 12, 2007, advise the court of the anticipated length of trial.

       DATED May 11, 2007.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
